                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF IOWA
                                       WESTERN DIVISION


HARVEST INTERNATIONAL, INC.,                                        Case No. 5:21-cv-04018

       Plaintiff,
                                                                    DEFENDANT’S NOTICE OF
vs.                                                                 REMOVAL

THE PHOENIX INSURANCE COMPANY
aka TRAVELERS,

       Defendant.
        Defendant, The Phoenix Insurance Company (“Phoenix”) (sued as “The Phoenix

Insurance Company aka Travelers”)1, hereby gives notice of the removal of this action pursuant

to 28 U.S.C. § 1441 et seq. and Local Rule 81. Removal is in accordance with 28 U.S.C. § 1441

et seq., as this Court would have had diversity jurisdiction over this action under 28 U.S.C. §

1332(a). In support of its Notice of Removal, Phoenix states as follows:

        1.       Plaintiff, Harvest International, Inc., commenced a civil action on March 5, 2021,

captioned Harvest International, Inc. v. The Phoenix Insurance Company aka Travelers, in the

Iowa District Court for Buena Vista County, Case No. LACV033982 (the “State Court Action”).

        2.       Phoenix has reviewed the state court’s docket and determined that the following

attached process and pleadings have been filed:

                 -        Civil Original Notice
                 -        Petition for Declaratory Judgment
                 -        Plaintiff’s First Amended Petition
                 -        Appearance (Brenda K. Wallrichs)



1The Phoenix Insurance Company issued the insurance policy at issue in this dispute, and no other entity affiliated
with The Travelers Companies Inc. is a party to this action.


                                                         1
             Case 5:21-cv-04018-MAR Document 1 Filed 04/07/21 Page 1 of 7
       3.      Plaintiff served Phoenix with copies of Plaintiffs’ Petition at Law in the State

Court Action on March 8, 2021. In accordance with 28 U.S.C. § 1446(b), Phoenix timely filed

this Notice of Removal within 30 days of its receipt of Plaintiffs’ Petition.

       4.      In the State Court Action, as set forth in the First Amended Petition, Plaintiffs

claim that Phoenix breached commercial insurance policies issued to Plaintiff by failing to

defend and indemnify Plaintiff for one claim of misappropriation of trade secrets and failure to

pay royalties, one claim of alleged damage to a planter bar, and one claim of alleged crop

damage and by further failing to pay claimed business interruption loss.

       5.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

for the reasons set forth below:

       a.      Complete diversity exists. The following statements were true on both the date

that Plaintiffs filed their Petition (March 5, 2021) and the date that Phoenix filed its Notice of

Removal (April 7, 2021):

       1.      The Plaintiff is an Iowa corporation with its registered office in Buena Vista

               County, Iowa. (Plaintiffs’ First Amended Petition, ¶ 1).

       2.      Defendant Phoenix is incorporated in Connecticut with its principal place of

               business in Connecticut, and therefore, is a citizen of the State of Connecticut. See

               28 U.S.C. § 1332(c)(1) (a corporation is a citizen of the state of its incorporation

               and the state of its principal place of business).

       b.      The amount in controversy exceeds $75,000.00.              Based on the content of

Plaintiff’s First Amended Petition, Phoenix believes in good faith that the amount in controversy

exceeds $75,000.00, exclusive of costs and interest. Phoenix satisfies its burden to prove that the

amount in controversy exceeds $75,000.00 even though an amount of compensatory damages is



                                                  2
            Case 5:21-cv-04018-MAR Document 1 Filed 04/07/21 Page 2 of 7
not specified in Plaintiff’s Petition. See Kaufman v. Costco Wholesale Corp., 571 F.Supp.2d

1061, 1063 (D. Minn. 2008) (citing In re Minn. Mut. Life Ins. Co. Sales Practices Litig., 346

F.3d 830, 834 (8th Cir. 2003) (Where the Plaintiff does not allege a specific amount in the

complaint, the removing party bears the burden of proving, by a preponderance of the evidence,

that the amount in controversy exceeds $75,000.00)).

        The amount in controversy is measured by the “value to the plaintiff of the right sought to

be enforced.” Advance Am. Servicing of Ark. V. McGinnis, 526 F.3d 1170, 1173 (8th Cir. 2008).

See also Hatridge v. Aetna Cas. & Surety Co., 415 F.2d 809, 815 (8th Cir. 1969) (the amount in

controversy is the amount that the complainant seeks to recover or the sum that defendant will

lose if the complainant wins the suit). In other words, the amount in controversy is the amount

that Plaintiff will seek from a jury.

        Plaintiff will likely seek an amount greater than $75,000.00 in this case. Plaintiff seeks

indemnification for four separate claims:

        1)      infringement of trade secrets and failure to pay royalties on farm equipment;

        2)      damage to a customer’s planter;

        3)      damage to a customer’s land and crops; and

        4)      business interruption losses.

        With respect to just one of the four cited claims, Plaintiff’s counsel has represented to

Phoenix that the claim involves property damage in the amount of $50,000. See December 28,

2020 letter from Attorney Brett Osborn attached hereto as Exhibit A. Plaintiff additionally seeks

defense costs and expenses for at least one of those claims, the infringement/failure to pay

royalties claim which is the subject of Case No. 1:20-cv-14 pending in the United State District




                                                  3
             Case 5:21-cv-04018-MAR Document 1 Filed 04/07/21 Page 3 of 7
Court for the Southern District of Iowa. It also seeks damages for alleged bad faith. Therefore,

the amount in controversy is at least $75,000 exclusive of interest and costs.

       Phoenix reserves the right to amend and/or supplement this Notice of Removal.

       WHEREFORE, the Defendant, The Phoenix Insurance Company, hereby removes the

State Court Action pending as Case No. LACV033982 in the Iowa District Court for Buena

Vista County to this Honorable Court.

                                               LEDERER WESTON CRAIG PLC

                                           By /s/ Brenda K. Wallrichs
                                              Brenda K. Wallrichs AT0008203
                                              118 Third Avenue SE, Suite 700
                                              P. O. Box 1927
                                              Cedar Rapids, IA 52406-1927
                                              Phone: (319) 365-1184
                                              Fax: (319) 365-1186
                                              E-mail: bwallrichs@lwclawyers.com

                                               ATTORNEY FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2021, I electronically filed the foregoing with the Clerk
of the U.S. District Court for the Northern District of Iowa, Western Division, using the ECF
system which will send notification of such filing to the following:

       Brett T. Osborn
       ABBOTT OSBORN JACOBS PLC
       Email: bosborn@midwestlawgroup.com
       ATTORNEYS FOR PLAINTIFF

       Executed this 7th day of April, 2021.


                                               /s/ Brenda K. Wallrichs




                                                  4
          Case 5:21-cv-04018-MAR Document 1 Filed 04/07/21 Page 4 of 7
Case 5:21-cv-04018-MAR Exhibit
                       DocumentA-001
                                 1 Filed 04/07/21 Page 5 of 7
Case 5:21-cv-04018-MAR Exhibit
                       DocumentA-002
                                 1 Filed 04/07/21 Page 6 of 7
Case 5:21-cv-04018-MAR Exhibit
                       DocumentA-003
                                 1 Filed 04/07/21 Page 7 of 7
